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           18                              UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF CALIFORNIA
           19
                 REALPAGE, INC.,
           20                                                   CASE NO. 3:25-cv-03004-JSC

           21                       Plaintiff,
           22                                                   JOINT STIPULATION TO STAY
                      v.                                        ENFORCEMENT OF ORDINANCE
           23                                                   AND PENDING CASE DEADLINES
                 THE CITY OF BERKELEY, CALIFORNIA,
           24
                 and PAUL BUDDENHAGEN, CITY
           25    MANAGER OF BERKELEY, CALIFORNIA,
                 in his official capacity,
           26

           27                       Defendants.

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             1                                          JOINT STIPULATION

             2           Plaintiff, RealPage, Inc., and Defendants, the City of Berkeley, California, and Paul

             3   Buddenhagen, City Manager of Berkeley, California, by and through counsel, enter this Joint

             4   Stipulation for consideration by the Court.

             5           The Defendants and RealPage stipulate to the following:

             6           1. On July 8, 2025, the Berkeley City Council adopted the second reading of Ordinance No.

             7              7,974–N.S to amend the Ordinance Prohibiting the Sale or Use of Coordinated Pricing

             8              Algorithms (BMC 13.63) to suspend the effective date of the Ordinance to until March 1,

             9              2026.

           10            2. The City will continue to refrain from enforcing the Ordinance against RealPage and

           11               landlords until April 1, 2026—30 days after the amended effective date.

           12            3. The parties believe that additional time to confer will promote the efficient and amicable

           13               resolution of this litigation and avoid unnecessary expense.

           14            4. On June 11, 2025, the Court issued an order requiring the parties to submit a case

           15               management statement by July 17, 2025 and setting a case management conference on July

           16               24, 2025. ECF No. 59. In light of the amendment delaying the Ordinance’s effective date

           17               and the parties’ desire for additional time to confer to attempt to resolve this dispute, the

           18               parties request that the Court vacate these dates. To the extent the parties’ efforts to resolve

           19               this dispute are not successful, the parties will notify the Court by November 30, 2025, and

           20               will request a case management conference to discuss next steps in the litigation.

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Crutcher LLP                                                         1
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             1           Accordingly, the parties respectfully request that, in light of the above stipulations, the Court

             2   vacate the pending case management deadlines and stay all deadlines. To the extent the parties’ efforts

             3   to resolve this dispute are not successful, the parties shall notify the Court by November 30, 2025. The

             4   parties’ notice shall include a request for a case management conference to discuss next steps in the

             5   litigation.

             6                            ATTESTATION (CIVIL LOCAL RULE 5-1(i)(3)

             7           In accordance with Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this

             8   document has been obtained from the signatories.

             9

           10                                                           Respectfully submitted,

           11                                                           GIBSON DUNN & CRUTCHER, LLP
                 July 16, 2025                                          By: /s/ Kristin A. Linsley
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